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                                                                                    EXHIBIT 5




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

                                             )
  SECURITIES AND EXCHANGE                    )
  COMMISSION,                                )
                                             )
                        Plaintiff,           )
                                             )
  v.                                         )       Civil No. 1:18-cv-01262
                                             )
  TODD ELLIOTT HITT, KIDDAR                  )
  CAPITAL LLC, and KIDDAR GROUP              )
  HOLDINGS, INC.,                            )
                                             )
                        Defendants,          )
                                             )
  and                                        )
                                             )
  KIDDAR HERNDON STATION LLC,                )
  KIDDAR HOMEBUILDING FUND I,                )
  LLC, MELBOURNE RETREAT LLC,                )
  KIDDAR MASS AVE LLC, KIDDAR                )
  RIDGEVIEW LLC, ESA EMERSON                 )
  LLC, ESA HIGHWOOD LLC, and                 )
  KIDDAR AQ LLC a/k/a KIDDAR                 )
  AQUICORE LLC,                              )
                                             )
                        Relief Defendants.   )
                                             )

              ORDER APPROVING SECOND INTERIM APPLICATION OF
               PROTIVITI FOR ALLOWANCE OF COMPENSATION AND
        EXPENSE REIMBURSEMENT AS FINANCIAL ADVISOR TO THE RECEIVER

          This matter came before the Court upon the Second Interim Application of Protiviti for

  Allowance of Compensation and Expense Reimbursement Incurred as Financial Advisor to the

  Receiver (the “Application”) filed by Protiviti (“Protiviti”), counsel for Bruce H. Matson (the

  “Receiver”) of the estates of Kiddar Herndon Station LLC, Kiddar Capital LLC, Kiddar Group
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  Holdings, Inc., Kiddar Homebuilding Fund I LLC, Melbourne Retreat LLC, Kiddar Mass Ave

  LLC, Kiddar Ridgeview LLC, ESA Emerson LLC, ESA Highwood LLC, and Kiddar AQ LLC

  also known as Kiddar Aquicore LLC (the “Receivership Defendants”). The Court, having

  reviewed the Application and having heard the statements of counsel in support of the relief

  requested therein at a hearing on the Application (the “Hearing”) and the Court finding that: (i)

  jurisdiction is proper pursuant to 28 U.S.C. § 959, (ii) notice of the Application and Hearing was

  proper and sufficient; (iii) there are no objections to the Application; and (iv) payment of the

  requested compensation and reimbursement of expenses as allowed herein is reasonable; it is

  hereby

           ORDERED as follows:

           1.    The Application is approved.

           2.    Capitalized terms not otherwise defined herein shall have the meanings given to

  them in the Application.

           3.    Compensation in the amount of $100,515.00 for professional services rendered to

  the Receiver and reimbursement of $252.50 for out-of-pocket expenses incurred for the Receiver’s

  benefit from and including January 1, 2019, through and including March 31, 2019, is hereby

  allowed.

           4.    The Receiver is authorized and directed to pay eighty percent (80%) of professional

  fees ($80,412.00) and expenses ($202.00) awarded herein.

           5.    Upon entry, the Clerk shall serve a copy of this Order on those parties on the

  attached Service List.




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  IT IS SO ORDERED, this ___ day of ___________, 2019




                                         UNITED STATES DISTRICT JUDGE



                                     SERVICE LIST

                                  Bruce H. Matson
                                  LeClairRyan PLLC
                                  919 East Main Street, 24th Floor
                                  Richmond, VA 23219
                                         Receiver

                                  W. Michael Holm
                                  Christopher L. Perkins
                                  LeClairRyan PLLC
                                  919 East Main Street, 24th Floor
                                  Richmond, VA 23219
                                         Counsel to Receiver

                                  Guy A. Davis
                                  Protiviti, Inc.
                                  1051 East Cary Street, Suite 602
                                  Richmond, VA 23219
                                          Financial Advisor to Receiver




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